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             UNITED	  STATES	  DISTRICT	  COURT	  FOR	  THE	  DISTRICT	  OF	  MARYLAND	  
                                       BALTIMORE	  DIVISION	  
	  
PEOPLE	  FOR	  THE	  ETHICAL	  
TREATMENT	  OF	  ANIMALS,	  INC.,	  et	  al.	  
	  
	      	       	       	        	       	       CASE	  NO.	  1:17-­‐cv-­‐02148-­‐MJG	  
v.	  
	  
TRI-­‐STATE	  ZOOLOGICAL	  PARK	  
OF	  WESTERN	  MARYLAND,	  INC.	  
	  
_________________________________________________________________________________________________	  
	  
       MEMORANDUM	  IN	  SUPPORT	  OF	  MOTION	  TO	  DISMISS	  PURSUANT	  TO	  FEDERAL	  	  
                         RULES	  OF	  CIVIL	  PROCEDURE	  12(b)(1)	  and	  12(b)(6)	  
	  
	      	       	       I.	      INTRODUCTION	  

        In this case, the Plaintiffs allege that the Defendants, jointly and severally, have

violated the Endangered Species Act. For the reasons set forth below, the Plaintiffs lack

standing to make this claim, and have failed to state a claim upon which relief can be

granted by this Court.

        The Defendants herein are alleged to own and operate what is familiarly called a zoo

in Allegheny County, known as Tri-State Zoological Park. Tri-State exhibits many different

animals, many of which are obtained from domestic sources, such as other zoos, and many

of which are obtained as “rescues”, that is, they are taken in because nobody else wants

them. Tri-State charges a small admissions fee for visitors to view the animals, and also

receives donations to help defray expenses.

        The case at bar is one of many litigations against private zoos and aquariums that the

Plaintiffs herein, or affiliated organizations or individuals (hereinafter collectively referred

to as “PETA”) have either brought or threatened to bring in various jurisdictions throughout


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the United States. The instant case would appear to be most similar factually to a series of

cases that People for the Ethical Treatment of Animals, Inc., (hereinafter “PETA”) has

brought against the keepers and exhibitors of an orca (killer whale) in Florida. A brief

history of that controversy would be illustrative as to the course of these “animal rights”

litigations and the applicability, vel non, of the various laws involved.

        In 2012, PETA and its affiliates, including the Animal Legal Defense Fund (ALDF)

brought suit against the United States Department of Agriculture’s Animal and Plant Health

Inspection Service (hereinafter sometimes referred to as “APHIS”). The plaintiffs in that

Florida case alleged that APHIS had failed in its duty to protect an orca owned by Miami

Seaquarium and Festival Fun Parks, LLC. The orca, formerly known as “Toki” and now

known as “Lolita”, was alleged by the plaintiffs in that case to have inadequate shade,

inadequate space, and inadequate companionship, just as the Plaintiffs in the case at bar

allege that Defendant Tri-State Zoological Park, Inc., provides inadequate space,

companionship, and similar care to the lion, tigers, and lemurs exhibited at Defendants’

facility.

        When that 2012 lawsuit was filed, Toki/Lolita was not on the endangered species list

promulgated pursuant to the Endangered Species Act. Therefore, it was unquestioned that

the only law governing the keeping of Toki/Lolita at that time was the Animal Welfare Act

(hereinafter “AWA”), which is administered by the U.S. Department of Agriculture’s

APHIS service. The Animal Welfare Act does not provide for any private cause of action

for individuals or organizations, and therefore PETA could not sue the owners of the

aquarium directly. Instead, PETA brought suit to compel APHIS to take adverse action


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against Miami Seaquarium’s license as issued by APHIS. See Animal Legal Def. Fund v.

U.S. Dep’t of Agric., 1:13-cv-20076-JAL (S.D. Fla., transferred from N.D. Cal, filed Aug.

24, 2012). The District Court in Florida (S.D.) found that the issuance of a license by

APHIS is not an occasion for judicial review of all of the factors that went into the decision

to issue such a license, and the 11th Circuit Court of Appeals affirmed the District Court’s

decision. See Animal Legal Defense Fund v. U.S. Dept. of Agric., 789 F.3d 1206 (11th Cir.,

2015).

         In 2015, after PETA and its affiliates successfully petitioned before the appropriate

regulatory agency to have whales of the same subspecies as Toki/Lolita added to the

endangered species list, PETA then filed a new Florida lawsuit very similar in character to

the case at bar, alleging that the care received by Toki/Lolita, as an endangered species,

constituted not only mistreatment under the Animal Welfare Act, but a privately actionable

“take” of an endangered species as defined by the Endangered Species Act, despite the plain

language of the term seeming to militate against such a reading. See People for the Ethical

Treatment of Animals, Inc. v. Miami Seaquarium & Festival Fun Parks, LLC, 189

F.Supp.3d 1327 (S.D. Fl., 2016). (Hereinafter referred to as “People for the Ethical

Treatment of Animals, Inc., [2016]” to avoid confusion with other PETA litigation). In that

case, the Hon. Ursula Ungaro, for the U.S. District Court of Florida, (S.D.), after an

exhaustive treatment of the law that would have fully justified a finding that the AWA is the

sole source of law and the sole remedy for even an endangered species lawfully in captivity,

stopped just short of such a finding, and instead reached a factual finding that while it is

possible for an act committed against a captive animal to be a “take” under the Endangered


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Species Act, that none of the acts alleged in the complaint therein rose to the level

contemplated as a “take” in the Endangered Species Act. That finding was appealed by the

Plaintiffs to the 11th Circuit Court of Appeals and appears to be presently set for oral

argument in December, 2017.

                 The case at bar would appear to be simply a second bite at the apple in a different

jurisdiction, and against a Defendant with lesser financial means.1 At the very heart of this

case are two questions: First, whether the Animal Welfare Act preempts, supersedes or

nullifies an action under the Endangered Species Act, where an animal was lawfully

obtained and is lawfully in captivity pursuant to a permit issued by the U.S. Department of

Agriculture—APHIS. Second, if the Endangered Species Act is in fact pertinent in such a

case, then can the Plaintiffs herein show that the animals are “harmed” or “harassed” such

as to constitute an unlawful “take” of the animals under the Endangered Species Act, where

such captive conditions are overseen and approved by APHIS.

                 While the District Court of Florida in People for the Ethical Treatment of Animals,

Inc. [2016], 189 F.Supp.3d 1327 (S.D. Fl., 2016), did exhaustive and very scholarly

research in arriving at its opinion, that opinion also inexplicably stopped just short of the

conclusion toward which it seems to be inexorably driven: that once an animal, even an

endangered species, is lawfully in captivity and brought under the auspices of the Animal
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  There	  are	  at	  least	  two	  other	  cases	  involving	  similar	  questions	  of	  law,	  including	  Kuehl	  v.	  

Sellner,	  161	  F.Supp.3d	  678	  (N.D.	  Iowa,	  2016),	  and	  Graham	  v.	  San	  Antonio	  Zoological	  Society,	  
Inc.,	  5:2015-­‐cv-­‐01054(W.D.	  Tx.	  2016).	  The	  three	  district	  courts	  all	  appear	  to	  reach	  different	  
conclusions	  about	  the	  questions	  presented.	  The	  Court	  in	  Kuehl,	  supra,	  appears	  not	  to	  have	  
considered	  the	  arguments	  made	  herein	  at	  all,	  perhaps	  because	  they	  were	  not	  raised	  by	  
counsel	  in	  that	  case.	  The	  court	  in	  that	  case	  granted	  the	  relief	  sought	  by	  plaintiffs,	  however,	  
Defendants	  herein	  assign	  error	  to	  that	  decision,	  for	  reasons	  argued	  herein.	  

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Welfare Act as administered by USDA- APHIS, then that animal is no longer subject to a

“take” under the Endangered Species Act, which is administered by the Department of

Inland Fisheries and Wildlife, and which primarily concerns itself with preserving the

natural habitat of wildlife, and with ensuring that endangered wildlife is not disturbed

within that habitat.

       Secondarily, the Defendants herein shall also raise questions related to standing,

jurisdiction, and justiciability, since the relief sought by the Plaintiffs would seem to be

speculative and conjectural at best, and since in the absence of the applicability of the

Endangered Species Act, the Plaintiffs lack any standing to sue ab initio, and their only

recourse is through the administrative processes of the USDA—APHIS.

              II.      DISCUSSION

       A.     The Animal Welfare Act and the Endangered Species Act

       In the PETA 2016 case, supra, the defendants argued that they had not “taken” the

subject orca in violation of the Endangered Species Act, and emphasized that they

maintained the animal under captive conditions that had been found by the Animal and

Plant Health Inspection Service (APHIS) of the U.S. Department of Agriculture to be

satisfactory. There is no allegation in the instant case that the Defendants herein are not

properly licensed by the APHIS, or that the Defendants herein are not presently in

compliance with that regulatory regime as established by APHIS. Instead, the Plaintiffs

recite alleged past violations of the Animal Welfare Act, now remedied, as well as their own

general opinions about the best way to keep the subject animals, but they identify no present

and ongoing practices of the Defendants that are in violation of the AWA, as determined by


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the only proper authority to determine such violations—the Animal and Plant Health

Inspection Service.

       While the Defendants are loathe to quote long sections of a Memorandum Opinion to

which they might simply make reference, the words of Judge Ungaro in People for the

Ethical Treatment of Animals, Inc. [2016], supra, are so precisely apposite to this topic, that

to attempt only paraphrase would be to re-invent the wheel to no good end. The Court in

that case writes as follows [with certain redactions between sections, for the sake of relative

brevity], at 1351-1355:

          The Animal Welfare Act (“AWA”), first passed in 1966, Pub. L. No.
          89-544, 80 Stat. 350, provides for the humane treatment of animals by
          persons who use them for exhibition and research purposes. 7 U.S.C.
          §§ 2131, et seq. In other words, unlike the ESA, it deals exclusively
          with captive animals, and specifically, animals that are exhibited in
          licensed facilities such as the Seaquarium. 7 U.S.C. §§ 2131, et seq.
          To this end, the AWA authorizes the Secretary of Agriculture to
          license exhibitors, see 7 U.S.C. § 2133, and promulgate standards for
          the proper care and treatment of animals in their care, see 7 U.S.C. §
          2146, which the Secretary has delegated to the Administrator of
          APHIS. See 907 Whitehead St., Inc. v. Sec’y of U.S. Dep’t of Agric.,
          701 F.3d 1345, 1347 (11th Cir. 2012). “[T]he supervisory goals of
          the [AWA] . . . [are] realized through a regime of administrative
          enforcement, with a right of judicial review for an aggrieved facility.”
          Int’l Primate Prot. League v. Inst. for Behavioral Research, Inc., 799
          F.2d 934, 940 (4th Cir. 1986) (citing 7 U.S.C. §2149(b)). However, in
          contrast to the ESA, the AWA’s goals are not advanced through
          private causes of action. Id.; see also Moor–Jankowski v. The Board
          of Trustees of New York University, 1998 WL 474084 *1, *8
          (S.D.N.Y. 1998) (“Congress did not intend to extend beyond the
          administrative action by the Secretary of Agriculture to include a
          private cause of action; the main purpose of the Act is to confer
          authority to the Secretary of Agriculture to insure the proper care and
          treatment of animals and that the Secretary be the exclusive
          investigator and enforcer of the AWA.”). . .




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         Thus, from a wide angle, the AWA deals with a subject similar to
         that addressed by the ESA: the protection of animals from people.
         But the AWA is sharply focused on the “humane treatment” of
         captive animals used for exhibition and research, (emphasis added)
         see 7 U.S.C. § 2131(1). Indeed, the terminology “humane treatment”
         is employed repeatedly in no fewer than five different sections in the
         statutory scheme, and it is the overriding concern reflected in the
         implementing regulations. See 7 U.S.C. §§ 2131, et seq; 9 C.F.R.
         Ch. 1, Subch. A, Pt. 3, Subprt. E. By contrast, the ESA promotes a
         different congressional objective—the protection of endangered
         species from habitat destruction and predation. (Emphasis added)
         See 16 U.S.C. § 1531. . .

         Careful review of the legislative history of both statutes shows that
         in the forty-plus years since their respective enactments, Congress
         has not disturbed this balance. The 91st Congress first addressed the
         humane treatment of animals by exhibitors in 1970 when it amended
         the 1966 version of the AWA. See H.R. Rep. No. 91-1651(1970)
         (“[T]his bill represents a continuing commitment by Congress to the
         ethic of kindness to … animals … [by] regulat[ing] more people
         who handle animals. It will bring into the regulatory framework of
         the Act for the first time exhibitors …”); Animal Welfare Act of
         1970, Pub. L. No. 91-579, section 2, 84 Stat.1560 (1970) (“[I]n order
         to … insure that certain animals intended for exhibition purposes …
         are provided humane care and treatment, it is essential to regulate
         the transportation, purchase, sale, housing, care, handling, and
         treatment of such animals by person or organizations engaged in
         using them for . . . exhibition purposes.”). At the same time
         Congress was formulating the AWA, and the subsequent amendment
         in 1970, it was also developing endangered species legislation, the
         first comprehensive attempt of which was the Endangered Species
         Preservation Act of 1966. Safari Club Int’l v. Jewell, 960 F. Supp.
         2d 17, 26 (D.D.C. 2013), appeal docketed, (Oct. 18, 2013) (citing S.
         Rep. No. 97-418, at 1(1982)). “The 1966 Act was an important step
         toward conserving endangered species, [but] it had serious
         drawbacks[,] including its failure to prohibit the taking of
         endangered species.” Id. To address these problems, the 91st
         Congress—the same Congress which amended the AWA in 1970—
         enacted the Endangered Species Conservation Act of 1969 to
         “correct[ ] several of the weaknesses of the 1966 Act.” Id.; see also
         Pub. L. No. 91-135. That the same Congress addressed the humane
         treatment of animals by exhibitors and researchers while
         contemporaneously addressing shortcomings in the ESA’s


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            predecessor statute is strong evidence that the ESA was not intended
            to serve as a surrogate for the AWA. Bryan v. Itasca Cty.,
            Minnesota, 426 U.S. 373, 389, 96 S.Ct. 2102, 2111, 48 L.Ed.2d 710
            (1976). . .

            The flaw in Plaintiffs’ position is that their expansive
            interpretation of the words “harm” and “harass” in the ESA
            section 9(a)(1), if adopted by this Court, would bring the ESA
            into conflict with the AWA. It would displace a long established
            regulatory framework providing for licensing and oversight of
            exhibitors and researchers by APHIS, it would expose licensed
            exhibitors and researchers to liability to special interest groups
            despite their compliance with APHIS’ captive care standards,
            and would substitute the judgment of a federal trial court judge
            for the technical expertise of the responsible agency. (Emphasis
            added). Marsh v. Oregon Nat. Res. Council, 490 U.S. 360, 375-77,
            109 S.Ct. 1851, 1860, 104 L.Ed.2d 377 (1989); see Tug Allie-B, Inc.
            v. United States, 273 F.3d 936, 941 (11th Cir. 2001) (holding courts
            should avoid a construction of two statutes that leads to a
            “dichomotous result”).

       B.     The Plaintiffs’ Complaint abuses the definition of a “take” or
              “taking” under the Endangered Species Act.

       A plain reading shows that the animals alleged to have been “taken” by the

Defendants herein were not in fact subject to a “take”, as a matter of law, under the

Endangered Species Act.

       The Endangered Species Act prohibits the “take” of any endangered species, 16

U.S.C. § 1538(a)(1)(B). To take an endangered species means to “harass, harm, pursue,

hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to engage in any such

conduct.” 16 U.S.C. § 1532(19).

       Plaintiffs’ Complaint repeatedly alleges actions said to have harmed or harassed the

various animals set forth, and allege that such “harm” or “harassment” constitute a taking,




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such as by allegedly not providing the animals with adequate enclosures and

companionship.

                 The determination of what constitutes a “take” depends upon whether the wildlife is

in captivity or in the wild.2 The U.S. Fish and Wildlife Service is the administrative agency

with authority over the taking of land based wildlife under the ESA. The Fish and Wildlife

Service has concluded that, because captivity disrupts key elements of the behavior of

animals in the wild, but Congress decided not to prohibit keeping ESA-listed animals in

captivity, Congress intended that the ESA “take” prohibition be applied in a manner that

does not result in proper animal husbandry activities being found to be “take,” even if

normal behaviors in the wild are disrupted by captivity. The ESA itself specifically

discusses captive members of endangered species, relaxes some ESA prohibitions for

captive animals, and does not impose additional requirements for captive animals. See 16

U.S.C. § 1538(b)(1) (entitled “Species held in captivity or controlled environment”); see

also § 1538(a)(1)(D) (prohibiting “possession” only if the animal was unlawfully taken).

Endangered species thus live in zoos and aquariums across the United States. There is no

allegation that any of the animals possessed by the Defendants herein were unlawfully taken

or in any way directly acquired from the wild by the Defendants. Instead, the Plaintiffs’

Complaint concerns itself with the circumstances under which the animals are kept in the

actual confines of the Defendant Tri-State Zoological Park’s facility, where the Plaintiffs

allege that the animals are subjected to ongoing “harm” or “harassment” by the Defendant

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2	  Wildlife,	  one	  might	  presume	  from	  the	  plain	  meaning	  of	  the	  word,	  either	  is	  presently	  in	  the	  

wild,	  or	  originated	  in	  the	  wild.	  

	                                                                                                               9	  
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captors such that it constitutes an unlawful “take” of the animals under the Endangered

Species Act.

          The Fish and Wildife Service does defines “harass” in its rules. See 50 C.F.R. §

17.3.7, in a two part inquiry, as follows: (1) conduct that creates a “likelihood of injury to

wildlife by annoying it to such an extent as to significantly disrupt normal behavioral

patterns” can be harassment, but (2) care for captive animals that complies with

“generally accepted … animal husbandry practices that meet or exceed the minimum

standards for facilities and care under the [Animal Welfare Act]” is not harassment.

See 50 C.F.R. § 17.3. (Emphasis added). It should be noted that there is no allegation by the

Plaintiffs that the Defendants are not presently licensed by the USDA-APHIS or that the

Defendants are presently in violation of any USDA—APHIS orders to correct defective

conditions. 	  	  

	    The	   Court	   in	   People	   for	   the	   Ethical	   Treatment	   of	   Animals,	   Inc.	   [2016]	   supra,	  
treated	  the	  subject	  of	  a	  “take”	  as	  follows	  [Id.	  at	  1344-­‐1346]:	  
	  
      In	   determining	   whether	   Congress	   intended	   the	   ESA	   to	   extend	   to	   the	  
      injuries	  Plaintiffs	  complain	  of,	  the	  starting	  point	  is	  to	  analyze	  the	  plain	  
      meaning	   of	   the	   text	   of	   the	   statute.	   Warshauer	  v.	  Solis,	   577	   F.3d	   1330,	  
      1335	   (11th	   Cir.	   2009)	   (internal	   citation	   omitted).	   However,	   in	  
      answering	   this	   question,	   the	   Court	   does	   not	   “interpret	   the	   relevant	  
      words	   .	   .	   .	   in	   a	   vacuum,	   but	   with	   reference	   to	   the	   statutory	   context,	  
      ‘structure,	   history,	   and	   purpose.’”	   Abramski	  v.	  United	  States,	   134	   S.Ct.	  
      2259,	  2267,	  189	  L.Ed.2d	  262	  (2014)	  (quoting	  Maracich	   v.	   Spears,	  570	  
      U.S.	  ––––,	  ––––,	  133	  S.Ct.	  2191,	  2209,	  186	  L.Ed.2d	  275	  (2013)).	  Section	  
      9(a)(1)	  reads	  in	  pertinent	  part:	  “it	  is	  unlawful	  for	  any	  person	  subject	  
      to	   the	   jurisdiction	   of	   the	   United	   States	   to[]	   take	   any	   such	   species	  
      within	  the	  United	  States	  or	  the	  territorial	  sea	  of	  the	  United	  States.”	  16	  
      U.S.C.	  §	  1538(a)(1)(B)	  (emphasis	  added).	  The	  statutory	  term	  “take”	  is	  
      defined	   in	   the	   ESA	   with	   ten	   (10)	   prohibited	   acts:	   “to	   harass,	   harm,	  



	                                                              10	  
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          pursue,	   hunt,	   shoot,	   wound,	   kill,	   trap,	   capture,	   or	   collect,	   or	   to	   attempt	  
          to	  engage	  in	  any	  such	  conduct.”	  16	  U.S.C.	  §	  1532(19).	  .	  .	  	  
	  
          When	  a	  statute	  is	  broadly	  worded	  in	  order	  to	  prevent	  loopholes	  from	  
          being	  drilled	  in	  it	  by	  ingenious	  lawyers,	  there	  is	  a	  danger	  of	  its	  being	  
          applied	   to	   situations	   absurdly	   remote	   from	   the	   concerns	   of	   the	  
          statute’s	  framers.”)	  (internal	  citation	  omitted).	  In	  that	  regard,	   noscitur	  
          a	  sociis	  is	  the	  common	  sense	  principle	  that	  statutory	  terms,	  ambiguous	  
          when	   considered	   alone,	   should	   be	   given	   related	   meaning	   when	  
          grouped	  together.	  E.g.,	  S.D.	  Warren	  Co.	  v.	  Maine	  Bd.	  Of	  Env.	  Protection,	  
          547	   U.S.	   370,	   378,	   126	   S.Ct.	   1843,	   164	   L.Ed.2d	   625	   (2006)	   (citations	  
          omitted).	   Here,	   the	   common	   denominators	   among	   the	   terms	   are	  
          conduct	   that:	   constitutes	   seizure	   (“trap,”	   “capture,”	   “collect”);	   is	  
          gravely	   threatening	   (“kill,”	   “shoot”);	   or,	   has	   the	   potential	   to	   seize	   or	  
          gravely	  threaten	  the	  life	  of	  (“pursue,”	  “hunt,”	  “wound”)	  a	  member	  of	  a	  
          listed	   species.	   The	   remaining	   terms	   “harm”	   and	   “harass”	   should,	  
          therefore,	   have	   the	   same	   essential	   character	   as	   the	   eight	   associated	  
          terms.	  Or	  put	  another	  way,	  as	  Seaquarium	  argues,	  “harm”	  and	  “harass”	  
          should	   be	   interpreted	   with	   the	   same	   level	   of	   “impact”	   to	   the	   listed	  
          species	  as	  the	  other	  eight	  terms	  denote.	  And,	  indeed,	  by	  replicating	  the	  
          word	   “kill”	   in	   the	   definition	   of	   “harm”	   the	   NMFS’s	   interpretation	  
          emphasizes	   the	   degree	   of	   harm	   the	   Act	   requires:	   “[A]n	   act	   which	  
          actually	   kills	   or	   injures	   fish	   or	   wildlife.”	   50	   C.F.R.	   §	   222.102.	   	   [Id.	   at	  
          1344-­‐1346].	  
	  
	        Again,	  for	  the	  sake	  of	  brevity,	  the	  Defendants	  herein	  have	  not	  included	  the	  

entire	  text	  of	  the	  Court’s	  decision	  in	  the	  Florida	  case.	  However,	  the	  Defendants	  do	  ask	  

that	  the	  Court	  give	  full	  review	  to	  that	  highly	  persuasive	  decision,	  since	  ultimately,	  one	  

is	  forced	  to	  the	  conclusion	  that	  the	  animals	  at	  Tri-­‐State	  Zoological	  Park	  are	  not	  

adequately	  alleged	  under	  the	  plain	  meaning	  of	  the	  Plaintiffs’	  Complaint	  to	  have	  been	  

“taken”	  as	  a	  matter	  of	  law	  under	  the	  Endangered	  Species	  Act.	  Even	  the	  District	  Court	  of	  

Florida	  seems	  to	  have	  applied	  too	  lax	  a	  legal	  standard	  to	  the	  plaintiffs	  in	  that	  case,	  

perhaps	  giving	  the	  plaintiffs	  the	  benefit	  of	  the	  doubt	  on	  the	  law,	  in	  order	  to	  avoid	  




	                                                                         11	  
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appellate	  review	  on	  those	  grounds,	  and	  instead	  finding	  that	  the	  factual	  allegations	  did	  

not	  rise	  to	  an	  actionable	  level	  under	  the	  Endangered	  Species	  Act.	  

	        The	  Defendants	  submit	  that	  the	  Florida	  court	  both	  could	  and	  should	  have	  

reached	  the	  conclusion	  toward	  which	  the	  law	  inexorably	  leads	  in	  the	  instant	  case—

that	  once	  an	  animal	  is	  in	  captivity	  and	  subject	  to	  the	  supervision	  and	  oversight	  of	  

APHIS	  under	  the	  Animal	  Welfare	  Act,	  then	  it	  is	  impossible	  to	  “take”	  such	  an	  animal	  

under	  the	  Endangered	  Species	  Act,	  or,	  if	  it	  is	  in	  some	  way	  possible,	  then	  the	  harm	  

alleged	  herein	  falls	  short	  of	  any	  harm	  contemplated	  in	  the	  Endangered	  Species	  Act,	  

and	  that	  mere	  allegations	  of	  less	  than	  proper	  care	  by	  a	  licensee	  under	  the	  Animal	  

Welfare	  Act	  will	  not	  be	  found	  to	  be	  “harm”	  or	  “harassment”	  sufficient	  to	  create	  a	  

private	  cause	  of	  action	  under	  the	  Endangered	  Species	  Act.	  

	        C.	      The	  specific	  allegations	  of	  Plaintiffs’	  Complaint	  fail	  in	  specificity	  	  
	        	        and	  in	  showing	  that	  the	  relief	  requested	  is	  within	  the	  power	  of	  the	  
	        	        Court	  
	  
	        The	  Plaintiffs’	  Complaint	  alleges	  that	  a	  “take”	  has	  occurred	  through	  the	  harm	  or	  

harassment	  of	  various	  captive	  animals,	  rather	  than	  through	  a	  taking	  from	  the	  wild.	  The	  

Plaintiffs	  also	  state	  several	  times	  that	  the	  Defendant	  Zoological	  Park	  is	  “unaccredited”	  

but	  make	  no	  allegation	  that	  accreditation	  is	  required,	  nor	  beneficial,	  nor	  even	  that	  it	  is	  

common	  among	  zoological	  parks	  of	  this	  type.	  Neither	  do	  they	  inform	  us	  as	  to	  what	  the	  

legal	  import	  of	  such	  status	  might	  be.	  In	  fact,	  the	  Plaintiffs	  make	  this	  claim	  repeatedly,	  

apparently	  only	  attempting	  to	  conjure	  prejudice,	  without	  ever	  explaining	  or	  alleging	  




	                                                                 12	  
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what	  the	  proper	  accrediting	  body	  might	  be,	  or	  whether	  there	  is	  any	  legal	  requirement	  

of	  accreditation,	  which	  Defendants	  maintain	  there	  is	  not.	  	  

	        Pages	  8	  through	  13	  of	  Plaintiffs’	  Complaint	  alleges	  that	  the	  Defendants	  harm	  or	  

harass,	  and	  therefore	  “take”	  two	  already	  captive	  ring	  tailed	  lemurs,	  by	  allegedly	  

denying	  the	  lemurs	  adequate	  companionship,	  adequate	  environmental	  enrichment,	  

and	  adequate	  enclosures.	  	  The	  Plaintiffs	  make	  much	  of	  the	  alleged	  “risk”	  to	  the	  animals	  

from	  such	  alleged	  conditions,	  but	  cannot	  state	  that	  there	  is	  any	  imminent	  risk	  of	  

serious	  injury	  to	  the	  animals	  other	  than	  what	  the	  Plaintiffs	  have	  stated	  by	  mere	  	  

conjecture	  and	  preference.	  Again,	  there	  is	  no	  allegation	  that	  the	  Defendants	  are	  

presently	  in	  violation	  of	  any	  orders	  issued	  by	  APHIS,	  which	  is	  the	  proper	  regulatory	  

agency	  for	  inspections	  of	  zoos.	  	  

	        The	  remainder	  of	  the	  Complaint	  repeats	  similar	  allegations	  for	  the	  tigers	  at	  the	  

facility,	  and	  for	  the	  lion	  at	  the	  facility.	  The	  Plaintiffs	  cite	  occasionally	  to	  outside	  

authority,	  including	  the	  guidelines	  of	  the	  USDA	  as	  to	  certain	  topics,	  but	  do	  not	  explain	  

that	  the	  Animal	  Welfare	  Act	  is	  administered	  only	  by	  the	  USDA-­‐APHIS	  and	  that	  the	  AWA	  

does	  not	  provide	  the	  Plaintiffs	  with	  a	  private	  cause	  of	  action	  due	  to	  alleged	  violations.	  

	        The	  Plaintiffs	  likewise	  complain	  of	  alleged	  past	  citations	  or	  violations	  but	  do	  not	  

allege	  that	  there	  are	  any	  present	  violations	  that	  have	  been	  noted	  by	  APHIS.	  The	  

Plaintiffs	  ask	  that	  this	  Court	  order	  the	  removal	  of	  animals	  from	  Defendants’	  facility,	  

based	  upon	  alleged	  past	  citations	  by	  APHIS,	  rather	  than	  based	  upon	  active,	  non-­‐

remediated	  citations.	  Even	  when	  the	  Plaintiffs	  complain	  of	  the	  death	  of	  a	  lion	  at	  the	  



	                                                                   13	  
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facility,	  there	  is	  no	  allegation	  that	  the	  lion	  would	  not	  have	  died	  regardless—there	  is	  

only	  a	  bald	  and	  conclusory	  statement	  that	  because	  the	  lion	  became	  ill	  and	  died,	  that	  it	  

must	  have	  been	  due	  to	  lack	  of	  veterinary	  care.	  	  Any	  person	  of	  common	  sense	  knows	  

that	  animals	  (and	  people)	  sometimes	  die	  despite	  the	  best	  of	  care.	  

	         In	  short,	  the	  gravamen	  of	  Plaintiffs’	  Complaint	  would	  seem	  to	  be	  that	  the	  

animals	  are	  kept	  in	  a	  small	  zoo	  facility	  rather	  than	  in	  an	  extremely	  expansive—

perhaps	  nonexistent—wildlife	  refuge,	  or	  in	  their	  native	  habitat.	  In	  fact,	  the	  Plaintiffs	  do	  

not	  allege	  that	  any	  other	  facilities	  presently	  exist	  anywhere	  within	  the	  jurisdiction	  of	  

the	  Animal	  Welfare	  Act	  or	  the	  Endangered	  Species	  Act,	  that	  would	  provide	  a	  remedy	  

for	  the	  conditions	  alleged	  by	  the	  Plaintiffs,	  nor	  do	  the	  Plaintiffs	  identify	  with	  

particularity	  any	  facilities	  that	  differ,	  how	  those	  facilities	  differ,	  whether	  those	  

facilities	  are	  superior,	  or	  whether	  those	  facilities	  would	  even	  be	  ready,	  willing,	  or	  able	  

to	  take	  the	  animals	  that	  are	  the	  subject	  of	  the	  Plaintiffs’	  Complaint.	  	  And	  despite	  

reciting	  allegations	  of	  past	  citations	  at	  the	  Defendant	  facility,	  the	  Plaintiffs	  cannot	  

allege	  that	  the	  Defendant	  facility	  has	  had	  more	  citations	  from	  APHIS	  than	  any	  other	  

facility	  of	  its	  type	  or	  size,	  given	  the	  sort	  of	  animals	  that	  are	  kept	  there.	  	  

	         Plaintiffs	  have	  not	  alleged	  that	  what	  they	  are	  seeking	  is	  even	  remotely	  feasible,	  

since	  that	  is	  not	  their	  end	  goal.	  The	  end	  goal	  is	  simply	  to	  stop	  zookeeping	  as	  we	  know	  

it.	  	  The	  Plaintiffs	  do	  not	  acknowledge	  that	  even	  if	  the	  relief	  they	  seek	  is	  granted,	  if	  no	  

other	  suitable	  facilities	  are	  found,	  then	  one	  option	  available,	  and	  perhaps	  forced	  upon	  

a	  trustee	  appointed	  by	  a	  Court,	  would	  be	  to	  euthanize	  the	  animals.	  	  



	                                                                         14	  
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	          The	  Plaintiffs	  claim	  that	  the	  Court	  has	  authority	  to	  order	  the	  forfeiture	  of	  the	  

animals	  and	  the	  placement	  of	  said	  animals	  in	  a	  different	  facility	  pursuant	  to	  16	  U.S.C.	  

1540(g)(1)(a).	  However,	  the	  statute	  cited	  by	  the	  Plaintiffs	  provides	  for	  no	  such	  relief,	  

instead,	  only	  providing	  that	  a	  private	  citizen	  may	  sue	  to	  enjoin	  another	  person	  from	  

violating	  the	  Endangered	  Species	  Act,	  or	  to	  compel	  the	  Secretary	  to	  enforce	  the	  

provisions	  of	  the	  Endangered	  Species	  Act.	  No	  language	  appears	  in	  that	  section	  

mandating	  or	  even	  allowing	  the	  relief	  sought	  by	  the	  Plaintiffs,	  which	  is	  at	  best	  

conjectural	  even	  were	  the	  law	  to	  authorize	  such	  forfeiture	  in	  an	  action	  brought	  by	  a	  

citizen.	  	  

	          The	  only	  relief	  authorized	  by	  law	  under	  the	  Endangered	  Species	  Act	  (which	  is	  

the	  only	  Act	  under	  which	  an	  individual	  plaintiff	  may	  proceed	  against	  an	  individual,	  

non-­‐governmental	  defendant),	  is	  to	  enjoin	  prohibited	  conduct	  and	  an	  award	  of	  

attorneys’	  fees	  and	  costs	  to	  the	  prevailing	  party	  in	  the	  discretion	  of	  the	  court.	  The	  

complaints	  of	  the	  Plaintiffs	  herein	  are	  best	  left	  to	  administrative	  or	  legislative	  

remedies.	  

	          D.	      The	  Plaintiffs’	  Complaint	  must	  be	  dismissed	  because	  they	  seek	  	  
	          	        relief	  that	  is	  not	  authorized	  by	  the	  Endangered	  Species	  Act,	  and	  	  
	          	        is	  purely	  conjectural	  even	  if	  found	  to	  be	  authorized,	  and	  therefore	  	  
	          	        the	  Plaintiffs	  lack	  standing	  both	  due	  to	  the	  inapplicability	  of	  the	  
	          	        ESA	  to	  animals	  held	  in	  captivity	  under	  the	  AWA,	  and	  because	  the	  
	          	        relief	  sought	  by	  the	  Plaintiffs	  is	  not	  authorized	  by	  statute	  and	  the	  
	          	        success	  of	  such	  relief,	  even	  if	  granted,	  is	  conjectural.	  
	  
	          A	  plaintiff	  suing	  for	  an	  injunction	  must	  establish	  standing	  to	  sue	  by	  showing	  it	  

(a)	  is	  presently	  suffering	  a	  concrete	  and	  particularized	  injury	  (b)	  caused	  by	  the	  



	                                                                   15	  
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Defendant,	  (c)	  which	  it	  is	  likely	  (rather	  than	  speculative)	  that	  the	  Court	  can	  effectively	  

remedy	  if	  the	  plaintiff	  prevails.	  Lujan	  v.	  Defenders	  of	  Wildlife,	  504	  U.S.	  55,	  560-­‐61	  

(1992).	  As	  explained	  above,	  the	  Plaintiffs	  have	  not	  shown	  that	  it	  is	  at	  all	  likely,	  rather	  

than	  merely	  speculative	  or	  conjectural,	  that	  the	  Court	  could	  enter	  an	  order	  resulting	  in	  

the	  placement	  of	  any	  of	  the	  animals	  in	  a	  superior	  facility	  to	  the	  one	  that	  now	  houses	  

them, even if a trustee or examiner were to be appointed to search for such a facility.

          Even if one rejects the eminently reasonable argument that the Animal Welfare Act

governs all animals in captivity that are lawfully in captivity, to the exclusion of the

authority of the Court to act under the Endangered Species Act where licensure under the

Animal Welfare Act has been invoked, the Endangered Species Act does not provide for

specific compulsory relief or specific performance of the sort imagined by the Plaintiffs, but

only for an injunction preventing violators from committing acts that violate the

Endangered Species Act. The only entity authorized to seek the forfeiture of animals

“taken” under 16	  U.S.C.	  1540	  is the executive branch of the United States government,

which gives even more weight to the reading that excludes captive animals from the

purview of the Endangered Species Act.

                     III.      CONCLUSION

          The Plaintiffs’ Complaint is rife with fatal legal flaws, even if all of the factual

allegations made in that Complaint are accepted as true, which this Court must do for the

purposes of this Motion.

          The Animal Welfare Act is the controlling statute for animals lawfully kept in a zoo.

The notion that two different Federal agencies, acting pursuant to two different Federal

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statutes and two different sets of Federal regulations, should share power and potentially

come into conflict in such a scheme, is not contemplated in the statutory regimes as

implemented by the United States Congress, which clearly intended that if an animal was

lawfully held in a zoo, the conditions of its treatment would be monitored by the agency

with expertise in the actual care and keeping of animals, that is, the United States

Department of Agriculture’s Animal and Plant Health Inspection Service. The Department

of Inland Fisheries and Wildlife certainly has little experience or expertise as to the care of

captive animals in a zoo setting, and even less experience with the long term proper care of

exotic species from areas outside of the United States.

       It is obvious that PETA has promulgated various litigations in various jurisdictions,

hoping to find the most favorable reading of the law for its own ends, which is to end all

forms of zookeeping as it is presently practiced. It is telling that Plaintiffs complain bitterly

about the conditions in which the animals at Defendants’ facility are kept, but cannot offer

even a bare allegation that the animals would be better off at another facility—instead, we

are to believe that there is, not yet identified, a suitable wildlife refuge somewhere over the

rainbow (or at least, somewhere beyond the summary judgment rainbow), where these

animals will not only be received with open arms, but will receive perfect habitat and care,

and where there will never be a citation issued by the USDA. However, if that place exists

and is willing to take the animals, the Plaintiffs do not deign to inform the Defendants or the

Court of its name or location. Instead, they ask that animals presently kept in a facility

regularly inspected by the USDA’s Animal and Plant Health Inspection Service, be

removed from that facility and forfeited to a Court trustee (a relief not authorized by statute)


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and then placed in some different wildlife facility not yet named or located, and which

might not in fact exist, or, if it exists, may have no interest in providing care for the animals

that are the subject of this suit.

       Because the Animal Welfare Act is the sole relief contemplated by Congress for

those who complain about the welfare of zoo animals, and because the relief sought by the

Plaintiffs is conjectural, not authorized by statute, and beyond the power of the Court to

grant to a private litigant under the Endangered Species Act, the Plaintiffs herein lack

standing to sue and therefore this controversy is not justiciable before this Court.

       The Plaintiffs, however, hope to accomplish their ends by a confusing intermingling

of two separate statutory and regulatory regimes. The District Court in Florida has

recognized the problems presented in a case such as this. The District Courts in Texas and

Iowa have taken other approaches that seem to accept the intermingling of the powers of

two different Federal agencies. However, this other approach seems to neglect an obvious

resolution that logically derives from a plain reading of the relevant statutes: First, that the

Animal Welfare Act and the USDA Animal and Plant Health Inspection Service regulate

lawfully captive animals in zoos. Second, that the Endangered Species Act and the

Department of Inland Fisheries and Wildlife regulate the taking and preservation of wild

animals not under the jurisdiction of the AWA, as set forth under the definitions set forth in

the Endangered Species Act. If it is true that no man can have two masters, then in cases

like these, neither should a monkey.

       WHEREFORE, the Defendants pray:

       A.      That the Plaintiffs’ Complaint be dismissed with prejudice it its entirety.


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          B.         That the Court award to the Defendants reasonable attorneys’ fees pursuant to

16 USC 1540(g) et seq.

          C.         For whatever other relief the is merited by the justice of the cause.	  

	  
	        	         	        	         	         	        	              Respectfully	  Submitted,	  
	  
	  
	        	         	        	         	         	        	              s/Nevin	  L.	  Young	  
	        	         	        	         	         	        	              _____________________________________	  
	        	         	        	         	         	        	              Nevin	  L.	  Young	  
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	        	         	        	         	         	        	              170	  West	  Street	  
	        	         	        	         	         	        	              Annapolis,	  Maryland	  21401	  
	        	         	        	         	         	        	              (t)	  410-­‐353-­‐9210	  
	        	         	        	         	         	        	              (f)	  410-­‐510-­‐1208	  
	        	         	        	         	         	        	              nyoung@burlingtonyounglaw.com	  
	        	  
                                                 CERTIFICATE	  OF	  SERVICE	  

	         I	  hereby	  certify	  that	  on	  this	  12th	  day	  of	  September,	  2017,	  a	  copy	  of	  the	  foregoing	  
was	  served	  via	  the	  Court’s	  ECF	  filing	  system,	  or,	  if	  such	  system	  was	  not	  available,	  by	  
both	  first	  class	  mail,	  postage	  prepaid,	  and	  by	  direct	  email,	  to:	  
	  
Conor	  O’Croinon,	  Esquire	  
Zuckerman	  Spaeder	  LLP	  
100	  East	  Pratt	  Street	  
Suite	  2440	  
Baltimore,	  Maryland	  21202	  
	  
Marcos	  E.	  Hasbun,	  Esquire	  
Justin	  Cochran,	  Esquire	  
Zuckerman	  Spaeder,	  LLP	  
101	  E.	  Kennedy	  Blvd.	  
Suite	  1200	  
Tampa,	  Florida	  33602	  
	         	        	        	        	           	           s/Nevin	  Young	  
	         	        	        	        	           	           ____________________________________	  
	         	        	        	        	           	           Nevin	  L.	  Young	  
	         	        	        	        	           	           Maryland	  Fed.	  Bar	  ID	  No.	  28604	  


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